Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 1 of 12




           Exhibit 3
Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 2 of 12
Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 3 of 12
      Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 4 of 12




                                         SCHEDULE A

                                         DEFINITIONS

       1.       “AAC” or “Actual Acquisition Cost” means the net price (after discounts,

rebates, and other price reductions) that a healthcare provider or pharmacist pays to purchase a

prescription drug.

       2.      “AMP” or “Average Manufacturer Price” shall have the meaning set forth in 42

U.S.C. § 1396r-8(k)(1).

       3.      “AWP” or “Average Wholesale Price” means any figures so categorized and

periodically published by a Publisher, including such figures published by First DataBank, Inc.

       4.      “CMS” means the United States Centers for Medicare and Medicaid Services and

its constituent parts and predecessors, including the Health Care Finance Administration and the

Department of Health and Human Services

       5.      “CMS Regional Offices” means any of the ten offices of CMS overseeing a

designated region of the United Statesand any other person who currently or formerly acted or

purported to act on their behalf.

       6.      “Communication” means any form of written or oral communication, both

internal and external, including letters, memoranda, e-mail, telegrams, invoices, telephone

conversations, face-to-face meetings, and other similar forms of communication or

correspondence.

       7.      “Complaint” means the Amended Complaint Following Severance filed in this

action by Ven-A-Care of the Florida Keys, Inc. on May 21, 2008.

       8.       “Defendants” refers to Actavis MidAtlantic LLC, Alpharma USPD Inc. f/k/a

Barre National Inc., and Barre Parent Corp.; Par Pharmaceutical, Inc. and Par Pharmaceutical
      Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 5 of 12




Companies, Inc.; Sandoz Inc. f/k/a Geneva Pharmaceuticals Inc.; and Watson Pharmaceuticals,

Inc. and Schein Pharmaceutical, Inc. (n/k/a Watson Pharma, Inc.).

       9.      “Direct Price” means any figures so categorized and periodically published by a

Publisher.

       10.     “Document” means all materials as defined in Federal Rule of Civil Procedure 34.

       11.     “EAC” or “Estimated Acquisition Cost” shall have the meaning ascribed to that

term pursuant to 42 C.F.R. § 447.502.

       12.     “FUL” or “Federal Upper Limit” shall have the meaning ascribed to that term

pursuant to 42 C.F.R. § 447.332.

       13.     “Generic Drug” shall mean drugs to which pharmaceutically and therapeutically

equivalent drugs containing the same active ingredient exist.

       14.     “MAC” or “Maximum Allowable Cost” shall have the meaning set forth in 42

C.F.R. § 447.332.

       15.     “Manufacturer” means a company that manufactures pharmaceutical products,

including the Subject Drugs, and shall have the meaning set forth in 42 U.S.C. § 1396r-8.

       16.     “Medicaid” means the Medicaid Program, as administered by the various states

their programs .

       17.     “Medicaid Intermediary” means and refers to any insurance company or other

entity that has contracted with any state Medicaid Program to process claims for reimbursement

of drugs, develop preferred drug lists, provide guidance on changes to reimbursement

methodologies, or provide advice on cost savings.

       18.     “Multiple Source Drugs” shall mean a drug marketed or sold by two or more

Manufacturers or labelers.




                                               -2-
      Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 6 of 12




       19.     “NDC” means “National Drug Code,” the code maintained by the Food and Drug

Administration as the standard for reporting drugs and biologics.

       20.     “Participant” or “Beneficiary” means a Person for whom the Medicaid Program

provides health insurance coverage.

       21.     “Person” means any natural person or any business, corporation, partnership,

proprietorship, association, organization, governmental entity, group of Persons, or other entity

of whatever nature.

       22.     “Plaintiff,” “Relator,” and “Ven-A-Care” refer to Ven-A-Care of the Florida

Keys, Inc.

       23.     “Program” means any program under which You purchase pharmaceuticals or

through which You pay reimbursement for pharmaceuticals and includes the State’s Medicaid

Program and any insurance program that provides pharmaceutical benefits to Your employees.

       24.     “Provider” means any entity or Person that provides health care to any Participant

or Beneficiary to whom You provide health insurance coverage or benefits, or any entity or

Person to whom You provide reimbursement for drugs.

       25.     “Publisher” means any pharmaceutical data publishing service, including the

Medical Economics Company’s Drug Topics Red Book (“Red Book”), American Druggist First

DataBank Annual Directory of Pharmaceuticals (“First DataBank”), Essential Directory of

Pharmaceuticals (“Blue Book”), and Medi-Span’s Master Drug Database (“Medi-Span”).

       26.     “Regarding,” “relating to,” or “referring to” means constituting, containing,

concerning, referring to, embodying, reflecting, analyzing, evidencing, discussing, identifying,

illustrating, stating, supporting, refuting, responding to, commenting on, evaluating, about,

mentioning, dealing with, or in any way pertaining to the relevant subject matter or person(s).




                                                -3-
      Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 7 of 12




       27.     “Reimbursement Methodology” means the formula used to calculate the amount

of payment designated by the State’s Medicaid Program to reimburse Providers for administering

or dispensing pharmaceutical products to Beneficiaries.

       28.     “State” means the ________ Department or Division of Medicaid.

       29.     “State Maximum Allowable Cost” or “SMAC” shall have the meaning ascribed to

that term pursuant to 42 C.F.R. § 50.504 or any analogous state statute or regulation.

       30.     “State’s Medicaid Program” means the State agency responsible for carrying out

the Medicaid Program in the State.

       31.     “Subject Drugs” are set forth in Exhibit A attached hereto.

       32.     “URA” means the Unit Rebate Amount computed and sent to the states by CMS.

       33.     “Usual and Customary” or “U&C” means the amount charged by a provider for

dispensing a pharmaceutical product to a cash paying customer or as defined by the State.

       34.     “WAC” or “Wholesale Acquisition Cost” means a Manufacturer’s list price for a

drug to wholesalers or direct purchasers (not including prompt pay or other discounts, rebates, or

price reductions) or any price periodically published as WAC by a Publisher.

       35.     “You” and “Your” refer to the State Department or Division of Medicaid

                                        INSTRUCTIONS

       1.      If it is claimed that a Request calls for documents that are privileged, work

product, or otherwise protected from disclosure and such privilege or work product is asserted,

identify the nature of the privilege that is claimed, and provide the following information: (a) the

type of document (e.g., letter, memorandum); (b) the general subject matter of the document; (c)

the date of the document; and (d) such other information as is sufficient to identify the document

for a subpoena duces tecum, including, where appropriate, the author, addressee, and any other




                                                -4-
      Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 8 of 12




recipient of the document, and, where not apparent, the relationship of the author, addressee, and

any other recipient to each other. Any part of a document to which the State does not claim

privilege or work product should be produced.

       2.      Documents that contain confidential, sensitive, or proprietary information should

be produced and appropriately labeled in accordance with the protective order in this case.

                                   DOCUMENT REQUESTS

       1.      Section 4.19B of all state Medicaid plans filed by the State under 42 U.S.C.

§ 1396(a) and all proposed or actual amendments to those state plans to the extent they relate to

section 4.19B of the state plan.

       2.       All Provider manuals or handbooks applicable to prescription drugs dispensed or

administered to Medicaid beneficiaries.

       3.      All letters, bulletins, or transmittals sent to providers of prescription drugs.

       4.      All pricing files applicable to any of the Subject Drugs, including AWP, WAC,

FUL, SMAC, WHN, Baseline Price, AMP, Best Price, URA, FSS price, and MMCAP price.

       5.      Examples of each type of claim form used by Providers to seek payment for

prescription drugs dispensed or administered to Medicaid beneficiaries.

       6.      All memoranda, studies, analyses, reports, communications, policy statements,

and other documents concerning proposed and accepted changes to payment rates for

prescription drugs dispensed under the State’s Medicaid Program.

       7.      All studies, audits, or surveys concerning Providers’ costs to acquire and/or

dispense prescription drugs, wholesalers’ costs to acquire prescription drugs, and the prices at

which drug manufacturers’ sell prescription drugs.




                                                 -5-
       Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 9 of 12




        8.     All documents concerning the meaning or definition of AAC, AWP, WAC, EAC,

AMP, list price, Direct Price, and Usual and Customary charge.

        9.     All documents reflecting any comparison between the prices applicable to any

Subject Drug, including comparisons of AAC, AWP, WAC, EAC, AMP, URA, FUL, MAC,

SMAC, FSS price, MMCAP price, contract price, invoice price, wholesaler price, Provider’s

purchase price, other states’ reimbursement amounts, acquisition prices of any state entity that is

a direct purchaser of drugs, and Usual and Customary charge.

        10.    All communications between State and any member of the state legislature, the

U.S. Government, any other State’s Medicaid Program, any Medicaid Intermediary, any state

entity that is a direct purchaser of drugs, any Medicare contractor, NAMFCU, any MFCU, the

National Association of State Medicaid Directors, Pharmacy Technical Advisory Group,

American Association of Medicaid Pharmacy Administrators, or the National Governors’

Association concerning: (a) payment rates for prescription drugs; (b) the acquisition or

dispensing costs of Providers for prescription drugs; or (c) AWP, WAC, or AMP.

        11.    All communications between the State’s Medicaid Program and any third party

concerning: (a) payment rates for prescription drugs; (b) the acquisition or dispensing costs of

Providers for prescription drugs; (c) prices for any Subject Drug; or (d) AWP, WAC, or AMP.

        12.    All non-privileged documents concerning State or Congressional hearings or any

other legal proceedings concerning AWP, WAC, or reimbursement rates for prescription drugs.

        13.    All documents concerning the AMP information provided by each Defendant to

the State.

        14.    All documents or data containing or reflecting a URA for any Subject Drug.




                                                -6-
      Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 10 of 12




       15.     All documents concerning the difference between the AMP and Providers’

acquisition costs of any pharmaceutical product.

       16.     All documents concerning dispensing fees set by the State’s Medicaid Program.

       17.     All documents concerning any requests, surveys, or other efforts conducted to

determine whether the State is in compliance with 42 U.S.C. § 1396a(a)(30).

       18.     All documents concerning State’s assurances, as required by 42 C.F.R. § 447.333,

that the State’s expenditures for drugs are in accordance with payment limits specified in 42

C.F.R. § 447.331(b).

       19.     All documents concerning State’s assurances, as required by 42 C.F.R. § 447.333,

that the State’s expenditures for multiple source drugs are in accordance with upper limits

specified in 42 C.F.R. § 447.332(b).

       20.     Documents sufficient to show the dollar amount and percentage of Federal

Medicaid matching funds received by You.

       21.     All data concerning Provider claims for reimbursement for the Subject Drugs

dispensed or administered under State’s Medicaid Program, including the following fields of

data to the extent they are maintained by the State or its agents:

               (a)     Identifier: claim number and other identifying information;

               (b)     Provider Type: pharmacy, outpatient hospital, physician crossover, etc.;

               (c)     Claim Type: any available claim type information including any

       information that indicates whether Medicaid is the secondary payor;

               (d)     Transaction Type: all available transaction type information, such as

       correction, cancellation, etc., identifiers, and source transaction information, and

       reference TCN numbers;




                                                 -7-
     Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 11 of 12




               (e)     Status: all status information, including the payment code indicating

       whether the claim has been accepted, processed, and/or paid and the type of program the

       claim will be processed under (e.g., Medicaid, Managed Care);

               (f)     Dates: all available dates;

               (g)     Basis of Payment: coding within the claim payment transaction which

       identifies the reference point from which the claim payment amount is determined (e.g.,

       MAC, SMAC, FUL, EAC, AMP, AWP, DOJ, Medicaid AWP, WAC, DP, usual and

       customary charge, etc.);

               (h)     Provider: all information for all relevant Providers;

               (i)     Product: all product information.

               (j)     Units: all units information, including submitted units, allowed units, and

       unit of measure;

               (k)     Prices/Fees: all fields containing price and fee amounts

               (l)     Comments: all other memo or free-form fields.

               (m)     Cost: the cost of shipping, pharmacy staff, supplies, storage, or inventory

       control for any Subject Drug.

               (n)     Acquisition Cost: any acquisition cost information submitted by the

       Provider.

               (o)     Related file layouts, field definitions, data dictionaries, source tables,

       relationship tables, and business rules.

       22.     All documents concerning communications between You and Defendants relating

to drug purchasing, pricing, reporting, utilization, rebates, and/or reimbursement.




                                                  -8-
     Case 1:01-cv-12257-PBS Document 7554-3 Filed 05/20/11 Page 12 of 12




       23.    All documents concerning any inquiries You made, or considered making, for

information concerning the prices, costs, or reimbursement of the Subject Drugs.

       24.    All documents concerning Your analysis, evaluation, review of, or reliance on any

representation of drug pricing provided by Defendants in connection with the reimbursement of

their pharmaceutical products.

       25.    All documents concerning or reflecting any complaint or inquiry You have ever

received from anyone regarding the pricing of Defendants’ pharmaceutical products.

       26.    All documents relating to the State’s MAC program.

       27.    All documents reflecting communications among any of Your employees or

agents concerning the pricing or reimbursement of prescription drugs.

       28.    All documents concerning how Your Medicaid Intermediary determined payment

amounts for the Subject Drugs.

       29.    All documents concerning monetary sums that the State has recovered from any

Providers as compensation, restitution, damages or penalties associated with its reimbursement

for any of the Subject Drugs.




                                              -9-
